             Case 1:20-cv-02405-EGS Document 83 Filed 11/04/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


Vote Forward, et al.,

Plaintiffs,


v.                                                                 Case No. 20-cv-2405


Louis DeJoy, et al.,

Defendants



                                  DEFENDANTS’ RESPONSE TO
                            THIS COURT’S NOVEMBER 4, 2020 ORDER

        Pursuant to the Court’s November 4, 2020, Order, Defendants certify that:

        1.       At 1:16 PM, Larry Wagener, Southwest Division Director of Processing Operations

for the Western Region, contacted every plant manager overseeing a processing facility in Texas

and directed them to (a) instruct plant employees to undertake an immediate sweep of the facility

to identify any inbound ballots postmarked yesterday or earlier, and have such ballots sent out for

delivery to local election offices for receipt by 5:00 PM local time; and (b) instruct plant employees

to undertake an additional sweep of the facility at 4:00 PM EST/3:00 CST today to identify any

inbound ballots postmarked yesterday or earlier, and have such ballots sent for delivery to local

election offices for receipt by 5:00 pm local time. See Ex. 1. These instructions were also

communicated orally.

        2.       At 3:14 PM, Angela Curtis, Vice President Retail and Post Office Operations,

directed Lisse Garrett to forward to all Postmasters, Stations Managers, and all operations

managers as soon as possible a reminder that any local ballots delivered to the post office yesterday

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            Case 1:20-cv-02405-EGS Document 83 Filed 11/04/20 Page 2 of 2




or earlier should bypass the ordinary processing system and be sent for delivery to local election

offices for receipt by no later than 5:00 PM local time. See Exs. 2, 3.

       3.       At this time, Defendants have not yet received information from plant managers

identifying the number of ballots they identify during the sweeps and describing the steps taken to

ensure their delivery at local election offices for receipt by 5:00 PM local time. Defendants will

produce this information as soon as it becomes available.



 Dated: November 4, 2020                             Respectfully submitted,

                                                     JEFFREY BOSSERT CLARK
                                                     Acting Assistant Attorney General

                                                     ERIC WOMACK
                                                     Assistant Branch Director
                                                     Federal Programs Branch

                                                     /s/ John Robinson
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